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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,                                         :
                                                  :      Civil Action No.
               Plaintiff,                         :
                                                  :
       v.                                         :      JURY TRIAL DEMANDED
                                                  :
ALPHA EPSILON PI FRATERNITY,                      :
INC., ALPHA EPSILON PI,                           :
ALPHA KAPPA CHAPTER,                              :
and CHARLES POE, individually :
and as agent of ALPHA EPSILON PI                  :
FRATERNITY and ALPHA EPSILON                      :
PI, ALPHA KAPPA CHAPTER,                          :
                                                  :
               Defendants.                        :


                        COMPLAINT AND JURY DEMAND

       Plaintiff John Doe (hereinafter referred to as “Plaintiff” or “John Doe 1”), by

his attorneys, Summers, McDonnell, Hudock, Guthrie & Rauch, P.C ., and

Nesenoff & Miltenberg, LLP, files this Complaint against ALPHA EPSILON PI

FRATERNITY, INC. (“AEPi, Inc.”); Alpha Epsilon Pi - Alpha Kappa Chapter

(“AEPi Alpha Kappa Chapter”); and Charles Poe, Master, Alpha Kappa Chapter

(“Poe”)(collectively, “the Fraternal Organization”); and in support thereof alleges

as follows:



1
 Plaintiff has filed herewith a motion to proceed pseudonymously as “John Doe.” As Charles
Poe and Jane Roe are college students, Plaintiff has identified them pseudonymously.
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                      THE NATURE OF THIS ACTION


      1.    This action arises out a false allegation of sexual misconduct against

John Doe, made by Jane Roe, to Carnegie Mellon University’s (“CMU”) Title IX

office. The allegation was made in November of 2017, and CMU has not yet

completed its investigation, or held the requisite hearing, to determine the

outcome. Despite the fact that the CMU investigation is ongoing and no finding of

responsibility has been made, Defendants ALPHA EPSILON PI, INC., AEPi

Alpha Kappa Chapter, and Charles Poe wrongfully suspended Plaintiff from the

fraternity on September 11, 2018.

      2.    The suspension of Plaintiff was taken unilaterally by Defendant

Charles Poe, Master, AEPi Alpha Kappa Chapter, in blatant disregard and in

violation of the procedures and processes required to discipline members of the

organization as set forth in 1) the Alpha Epsilon Pi Constitution – Alpha Kappa

Chapter, 2) the Supreme Constitution of the Alpha Epsilon Pi Fraternity, Inc., and

3) the Bylaws of the Alpha Epsilon Pi Fraternity.

                                    THE PARTIES

      3.    Plaintiff is a natural person and a resident of Kentucky.

      4.    ALPHA EPSILON PI, INC. is a non-profit corporation, incorporated

under the laws of the State of New York, with Headquarters in Indianapolis, IN.
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         5.    Alpha Epsilon Pi – Alpha Kappa Chapter is an unincorporated

association that has received a charter from the Supreme Board of Governors of

ALPHA EPSILON PI, INC.

         6.    Charles Poe is a natural person who is a resident of Pennsylvania and

the Master of the Alpha Kappa Chapter of Alpha Epsilon Pi .

                           JURISDICTION AND VENUE

         7.    This Court has federal diversity jurisdiction pursuant to 28 U.S.C. §

1332 because Plaintiff and Defendants are citizens of different states., and the

amount in controversy is exceeds the amount of $75,000, exclusive of interests and

costs.

         8.    This Court has personal jurisdiction over Defendants AEPi, INC., and

AEPi-Alpha Kappa Chapter, on the ground that they are conducting business

within the Commonwealth of Pennsylvania.

         9.    This Court has personal jurisdiction over Charles Poe on the ground

that he was acting on behalf of Defendant AEPi-Alpha Kappa Chapter at all times

relevant herein and personally acted within the Commonwealth of Pennsylvania.

         10.   Venue for this action properly lies in this district pursuant to 28

U.S.C. § 1391 because the events or omissions giving rise to the claim occurred in

this judicial district.
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         FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

                     John Doe and Jane Roe’s Relationship

      11.    On November 16, 2017, Jane Roe met with Board Members of

AEPi—Alpha Kappa Chapter (Board Members). Roe told the Board Members that

John Doe had sexually assaulted her on November 12, 2017. The Board Members

told Jane Roe that she should bring this allegation to the Carnegie Mellon

University (CMU)’s Title IX Office. Later that evening, Jane Roe sent an email to

CMU’s Title IX Office stating that she wanted to report and get assistance for “an

incident” that had happened to her.

      12.    On November 21, 2017, Roe met with the CMU Title IX investigator,

Jamie Edwards-Pasek (Edwards).        Roe stated that she had sex with Plaintiff

(“Doe”) on November 12, 2017, and that she did not think it was consensual. She

stated further that her main wish was for Doe to be removed from his fraternity,

AEPi, because she had friends and study partners there and wanted to continue to

visit and spend time at the AEPi house.

      13.    Roe also requested that Edwards email AEPi’s President, which

Edwards did on November 30th.         Edwards subsequently met with the AEPi’s

President on December 1, 2017, and the President told Edwards that the leadership

of AEPi had decided to wait for the Title IX investigation and student conduct

process to conclude prior to taking any action.
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      14.    On November 29, 2017, Roe met a second time with Edwards for the

purpose of making a full statement for the Title IX and student conduct process.

      15.    Doe stated that he knew Roe through his fraternity, AEPi, that she had

been dating another member of that fraternity, W#3, who was friendly with Doe.

W#3 was a graduate student and alumnus of AEPi. Roe was a freshman.

      16.    Per Roe’s account, Plaintiff and Roe spent some time together at his

apartment on the evenings of November 12 and November 13, 2017. They studied

together, and the Roe slept over at Plaintiff’s apartment both nights.

      17.    On the first occasion, they had sexual intercourse, which Plaintiff has

at all times described as consensual. At some point during those two days, they

made plans to have dinner on November 14, 2017.

      18.    Roe stated that on November 14, 2017, she saw Doe at the AEPi

house, and they spoke.

      19.    Roe stated that at some time the same day, she sent Doe a message on

Facebook which stated that she did not think the last few days were a good idea,

she did not think they should get dinner, and that she needed space. Doe replied by

saying “for sure.” Roe then blocked Doe on Facebook, Instagram and other sites.

      20.    Roe stated that she saw W#3 later that day, and that they spent time

together that evening. At some point, Roe decided to tell W#3 about what had

happened between her and Doe. She stated W#3 was “very frustrated with Doe”
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when she told him what had happened. She also stated that W#3 said to her, “you

realize that he basically took advantage of you.” Roe stated that when W#3 said

that, she became “consciously aware” of what had happened. 2

       21.    Roe stated that she started telling other individuals what happened the

following day, November 15, 2017. One of the people she told, an AEPi leader,

decided that they should meet with two other AEPi board members and tell them

what happened. The meeting occurred on Thursday, November 16, 2017, during

which Roe told her story to the AEPi board members, who responded by telling her

that she needed to reach out to Title IX, which she did (via email) later that

evening.

       22.    Roe met with Title IX investigator Jamie Edwards-Pasek (“Edwards”)

on November 21, 2017, and told Edwards that she wanted a No Contact

Agreement, and that she wanted to know that Doe would not be at the Hillel house

on Monday night for the study sessions.

       23.    On December 1, 2017, Edwards met with AEPi’s President/Master,

Roe, who advised Edwards that the leadership of AEPi had decided to wait for the

Title IX investigation and student conduct process to conclude prior to taking

action.



2
 W#3 told the Title IX investigator that he felt jealous when he found out Roe had kissed
Plaintiff and that she had made dinner plans with him.
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      24.    On January 12, 2018, Edwards interviewed the Plaintiff.             He

recounted, in detail, his consensual sexual encounter with Roe.

      John Doe’s Unblemished Academic and Disciplinary Record

      25.    John Doe began his education at CMU in the Fall of 2016. He was

majoring in Computer Science and had no disciplinary issues at any time in his

educational career.

      26.    In addition, John Doe did not have any disciplinary or other problems

with the Fraternal Organization and was a member in good standing.

                       AEPi – Alpha Chapter Suspends Plaintiff

      27.    Plaintiff was unable to attend CMU the Spring semester of 2018, due

to medical and family issues. He went back to CMU for the Fall semester of 2018,

which started in late August.

      28.    On or about September 11, 2018, Plaintiff received a letter from AEPi

– Alpha Kappa Chapter, informing him that the fraternity had “been made aware of

potential health and safety violations” by Plaintiff. Further the letter stated, “In

accordance with fraternity policy, your membership privileges are temporarily

suspended,” and that Plaintiff was not permitted to attend any chapter event, or be

present in the common areas at the chapter house until further notice. The letter

was signed by Defendant Poe, President/Master, Alpha Kappa Chapter. The letter

contained no other information.
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      29.    The governing documents for AEPi – Alpha Chapter are: 1) Alpha

Epsilon Pi Constitution – Alpha Kappa Chapter; 2) the Supreme Constitution of

the Alpha Epsilon Pi Fraternity, Inc.; and 3) the Bylaws of the Alpha Epsilon Pi

Fraternity. These documents are attached to and incorporated into this Complaint

as Exhibits 1, 2 and 3, respectively.

      30.    These governing documents provide express procedures that are

required to be followed when the Fraternal Organization seeks to discipline one of

its members. See Exhibit 1, AEPi Constitution – Alpha Kappa Chapter, Article 8

“Suspension and Expulsion”; and Exhibit 3, Bylaws of AEPI, Article VI: “Judicial

Procedures.” Both of these governing documents require that there be written

notice given to the brother against whom the action is sought, informing him of the

charges, giving him an opportunity to be heard, and to be granted a hearing, which

must take place “at a reasonable time for the Brother.”

      31.    The Bylaws set forth the full procedure to be followed in such an

investigation, which requires that any Brother wishing to file charges against

another Brother must complete a form, and include the specific charges he is filing

against the other Brother. See Exhibit 3 Bylaws, Article VI, Section 1 “Filing of

Charges.”

      32.    The charges then are reviewed by the Brotherhood Status Committee,

which then votes, either to dismiss the charges or to refer the charges for further
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proceedings, and the Brotherhood Status Committee is further required to inform

the filer and the Brother against whom the charges are made, of its decision. Id.

Section 2, Review by the Brotherhood Status Committee.

      33.    If the charges proceed, the Brotherhood Status Committee is required

to notify the accused Brother of the charges by email and certified mail, and advise

the Brother of his right to accept responsibility for the charges and the sanction or

deny responsibility for the charges, and/or challenge the sanction, and to request a

hearing. Id. Section 3, “Correspondence with the Accused Brother.”

      34.    If the Accused Brother requests a hearing, the Brotherhood Status

Committee must notify the Supreme Master, who must then empanel a hearing

board of three Brothers of the Supreme Master’s choosing, one of whom will be

designated as the Chairman, and all of whom are required to have been brothers of

the Fraternity for no less than 10 years. Id. Section 4, Disciplinary Hearing.

      35.    Following the Disciplinary Hearing the hearing board shall provide a

written recommendation to the Supreme Board of Governors within 14 days, and

either party may elect to submit a written statement in support of or opposing the

recommendation of the hearing board. Id.

      36.    Finally, the Supreme Board of Governors makes the final adjudication

of the matter, and notifies the filer and the Accused Brother of the decision. Id.,

Section 5.
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       37.    None of the foregoing processes and procedures were followed with

respect to the suspension of the Plaintiff from the Fraternal Organization.

                                     COUNT I

                                  Breach of Contract
                                (Against All Defendants)

       38.    Plaintiff repeats and realleges each and every allegation hereinabove

as if fully set forth herein.

       39.    Based on the aforementioned facts and circumstances, the Defendants

created an express and implied contract with Plaintiff, when Plaintiff accepted

Defendants’ offer of admission to the Fraternal Organization of Alpha Epsilon Pi –

Alpha Kappa Chapter.

       40.    As set forth in detail above, the Defendants breached both express and

implied agreement(s) with Plaintiff when they suspended him from the Fraternal

Organization without following any of the procedures set forth in the Fraternal

Organization’s governing documents for disciplining its members.

       41.    As a direct and foreseeable consequence of the breaches set forth

above, Plaintiff sustained damages, including, without limitation, emotional

distress, loss of educational and career opportunities, financial injuries, and other

direct and consequential damages, in excess of $75,000.

       42.    As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,
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expenses, an injunction enjoining enforcement of the suspension, and costs and

disbursements.

                                         COUNT II
                         Negligent Infliction of Emotional Distress
                                 (Against All Defendants)

      43.     Plaintiff repeats and realleges each and every allegation hereinabove

   as if fully set forth herein.

      44.        Defendants’ conduct as more fully outlined above, including but not

limited to failing to provide due process, conduct a hearing and act prior to ant

findings in the University’s investigation was, at the very least, negligent.

    45.       Defendants’ negligence proximately caused the harm to Plaintiff’s

reputation and educational career.

   46.        The Defendants’ actions as more fully outlined above would naturally

and probably result in emotional distress to Plaintiff.

     47.      The Defendants’ actions did, in fact, cause severe emotional distress
to Plaintiff.

    48.       The emotional distress suffered by Plaintiff physically manifested

itself in symptoms including, but not limited to: sleeplessness; anxiety; headaches;

nausea; nightmares; loss of appetite; and such other injuries and physical

manifestations as may appear during the course of discovery in this matter.
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                             PRAYER FOR RELIEF

      WHEREFORE, for the foregoing reasons, Plaintiff demands judgment

against the Defendants as follows:

         (i)     For breach of contract a judgment against the Defendants, jointly
                 and severally, awarding Plaintiff damages in an amount to be
                 determined at trial, including, without limitation, damages to
                 physical well-being, emotional and psychological damages,
                 damages to reputation, past and future economic losses, loss of
                 educational opportunities, and loss of future career prospects, plus
                 prejudgment interest, attorneys’ fees, expenses, costs and
                 disbursements;

         (ii)    For negligent infliction of emotional distress, a judgment against
                 the Defendants, jointly and severally, awarding Plaintiff damages
                 in an amount to be determined at trial, including, without
                 limitation, damages to physical well-being, emotional and
                 psychological damages, damages to reputation, past and future
                 economic losses, loss of educational opportunities, and loss of
                 future career prospects, plus prejudgment interest, attorneys’ fees,
                 expenses, costs and disbursements; and


         (iii)   An injunction against ALPHA EPSILON PI FRATERNITY, INC.;
                 Alpha Epsilon Pi - Alpha Kappa Chapter; and Charles Poe, Master,
                 Alpha Kappa Chapter directing all Defendants to: (i) reinstate
                 Plaintiff to Alpha Epsilon Pi - Alpha Kappa Chapter; (ii) remove
                 any record of Plaintiff’s suspension from his records held by the
                 Fraternal Organization.
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                                 JURY DEMAND

      Plaintiff herein demands a trial by jury of all issues so triable in the present
matter.

Dated: October 15, 2018

                                       SUMMERS, MCDONNELL, HUDOCK,
                                       GUTHRIE & RAUCH, P.C.

                                       By: /s/ Kevin D. Rauch
                                       Kevin D. Rauch, Esq.
                                       PA 83058
                                       945 East Park Drive, Suite 201
                                       Harrisburg, Pennsylvania

                                       NESENOFF & MILTENBERG, LLP

                                       By: /s/ Andrew T. Miltenberg
                                       Andrew T. Miltenberg, Esq.
                                       NY 2399582
                                       (pro hac vice admission forthcoming)
                                       Stuart Bernstein, Esq.
                                       NY 2371953
                                       (pro hac vice admission forthcoming)
                                       Kara Gorycki, Esq.
                                       NY 4140992
                                       (pro hac vice admission forthcoming)


                                       363 Seventh Avenue, Fifth Floor
                                       New York, New York 10001
                                       (212) 736-4500

                                       Attorneys for Plaintiff John Doe
